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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN


 TESLA, INC., a Delaware corporation,

                                   Plaintiff,
                                                               Case No. 16-cv-1158
                     v.
                                                               Hon. Janet T. Neff
 JOCELYN BENSON, in her official capacity as
 Secretary of State and Chief Motor Vehicle
 Administrator; DANA NESSEL, in her official
 capacity as Attorney General; and GRETCHEN
 WHITMER, in her official capacity as Governor,

                                   Defendants.


                                        JOINT STIPULATION

        Pursuant to Federal Rule of Civil Procedure 16(b)(4) and Local Rule 16.1, the parties, by

and through their undersigned counsel, hereby stipulate to and request an order modifying the

Fourth Amended Case Management Order (ECF No. 262) in this matter. Specifically, the parties

request that the Court enter an order adjourning all existing deadlines in this matter and order the

parties to file a joint notice, on or before April 1, 2020, setting forth dates on which both sides

are available for trial in 2020.



                                                 Respectfully submitted,

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Dated: December 18, 2019




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN


 TESLA, INC., a Delaware corporation,

                                 Plaintiff,
                                                               Case No. 16-cv-1158
                     v.
                                                               Hon. Janet T. Neff
 JOCELYN BENSON, in her official capacity as
 Secretary of State and Chief Motor Vehicle
 Administrator; DANA NESSEL, in her official
 capacity as Attorney General; and GRETCHEN
 WHITMER, in her official capacity as Governor,

                                 Defendants.


                                      [PROPOSED] ORDER

        Upon consideration of the Joint Stipulation, and pursuant to Federal Rule of Civil

Procedure 16(b)(4) and Local Rule 16.1, the deadlines set out in the Fourth Amended Case

Management Order (ECF No. 262) are hereby ADJOURNED.

        IT IS HEREBY ORDERED that the parties shall file a joint notice, on or before April

1, 2020, setting forth a list of dates in 2020 in which both sides are available for trial.



Date: December ___, 2019                                        ___________________________
                                                                HON. JANET T. NEFF
                                                                United States District Judge
